891 F.2d 287
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James F. SCHNEIDER, Plaintiff-Appellant,v.Kenneth D. McKELLAR, Warden, Defendant-Appellee.
    No. 89-6672.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 31, 1989.Decided:  Nov. 14, 1989.
    
      James F. Schneider, appellant pro se.
      Before PHILLIPS and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James F. Schneider appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Schneider v. McKellar, C/A No. 89-965-3 (D.S.C. May 17, 1989).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    